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                    UNITED STATES DISCTICT COURT
                    WESTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

DANIEL WILLIAM RUDD,

      Plaintiff,
                                          No. 1:18-cv-124
v
                                          HON. GORDON J. QUIST
CITY OF NORTH SHORES, GARY
NELUND, DANIEL SHAW, MATTHEW              MAG. RAY KENT
RHYNDRESS, MICHAEL
WASSILEWSKI, JON GALE, MARK
MEYERS, CHRIS MCINTIRE,
DOUGLAS, HUGHES, WILLIAM
HUGHES, PLLC, MELISSA MEYERS,
MICHELLE McLEAN, JOEL BAAR,
BOLHOUSE, BAAR & HOFSTEE PC,

      Defendants.
_____________________________________________________________________________
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                                                                               /

     STIPULATION & ORDER EXTENDING TIME FOR PLAINTIFF’S
     RESPONSE TO DEFENDANT MCINTIRE’S MOTION TO DISMISS

      This matter is before the court upon a stipulation to extend the time by which

Plaintiff needs to respond to Defendant McIntire’s Motion To Dismiss (ECF No.23).

The undersigned parties have agreed and the court being otherwise fully advised:

      IT IS ORDERED that Plaintiff’s response is now due on May 29, 2018.



Dated: May ___,
            21 2018                          __________________________
                                               /s/ Gordon J. Quist
                                             Hon. Gordon J. Quist


Stipulated and Approved for Entry:

 /s/ Daniel W. Rudd                           /s/ Sarah R. Robbins
Daniel W. Rudd, Pro Se Plaintiff             Sarah R. Robbins (P81944)
(Registered to e-file by leave granted)      Attorney for Defendant McIntire
